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                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                                January 05, 2021
                                                                               Nathan Ochsner, Clerk

                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

      JEREMY JAMES                    §   CIVIL ACTION NO.
      JOSEPH,                         §   4:20–cv–04223
      (Former SPN #03060619)          §
                   Plaintiff,         §
                                      §
                                      §
              vs.                     §   JUDGE CHARLES ESKRIDGE
                                      §
                                      §
      RICE UNIVERSITY, et al.,        §
                Defendants.           §

                        MEMORANDUM ON DISMISSAL

            Before the Court is a complaint filed by Plaintiff Jeremy
      James Joseph. Dkt 1. Joseph proceeds pro se and filed his
      complaint at a time when he was an inmate of the Harris County
      Jail, alleging an illegal arrest. Online records show that he is no
      longer confined there.
            The Court sends notices only to the address on file under
      Local Rule 83.4. A pro se litigant is responsible for keeping the
      Clerk advised in writing of his current address. Ibid.
            Joseph has failed to provide the Court with an accurate,
      current address. Under the inherent powers necessarily vested in
      a district court to manage its own affairs, this action is dismissed
      for want of prosecution. See FRCP 41(b); Link v Wabash RR, 370
      US 626, 630–31 (1962); Clofer v Perego, 106 F3d 678, 679 (5th Cir
      1997); James W. Moore, et al., 8 Moore’s Federal Practice
      § 41.51(3)(b) & (e) (Matthew Bender 3d ed 2017).
            The Court will grant relief upon a proper showing under Rule
      60(b) of the Federal Rules of Civil Procedure. See Link, 370 US
      at 635.
            The civil action filed by Plaintiff Jeremy James Joseph is
      DISMISSED WITHOUT PREJUDICE for want of prosecution. Dkt 1.
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         Joseph’s motion to proceed in forma pauperis is DENIED as
      moot. Dkt 2.
         Any other motions are DENIED as moot.
         SO ORDERED.
          Signed on January 5, 2021, at Houston, Texas.


                                 ________________________
                                 Hon. Charles Eskridge
                                 United States District Judge




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